         Case 1:11-cr-00354-JLT Document 263 Filed 08/06/13 Page 1 of 1


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KIMBERLY A. SANCHEZ
     KATHLEEN A. SERVATIUS
 3   MELANIE ALSWORTH
     Assistant U.S. Attorneys
 4   4401 Federal Building
     2500 Tulare Street
 5   Fresno, California 93721
     Telephone: (559) 498-7272
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )   1:11-CR-00354 LJO
                                                    )
12                          Plaintiff,              )   ORDER GRANTING GOVERNMENT’S
                                                    )   REQUEST TO SUBMIT EXHIBITS IN
13                                                  )   SUPPORT OF RESPONSE TO
                                     v.             )   DEFENDANTS’ MOTIONS TO SUPPRESS
14                                                  )   UNDER SEAL
                                                    )
15   RICHARD SALAS, et. al.,                        )   DATE: August 23 2013
                                                    )   TIME: 1:00 p.m.
16                          Defendants.             )   HONORABLE Lawrence J. O’Neill
                                                    )
17                                                  )
                                                    )
18
19            The United States of America, by and through Benjamin B. Wagner, United States Attorney,
20   and Kathleen A. Servatius, Melanie Alsworth, and Kimberly A. Sanchez, Assistant United States
21   Attorneys, having requested permission to file the government’s exhibits in opposition to
22   defendant’s motions to suppress under seal under seal until further order of the Court,
23
24
25
26                                           IT IS SO ORDERED.
27   Dated:      August 6, 2013                  /s/ Lawrence J. O'Neill   B9ed48
                                                 UNITED STATES DISTRICT JUDGE
28


                                                        1
